Case:18-00149-LTS Doc#:18 Filed:01/23/19 Entered:01/23/19 11:58:52                                       Desc: Main
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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

 In re:
                                                                            PROMESA
 THE FINANCIAL OVERSIGHT AND                                                Title III
 MANAGEMENT BOARD OF PUERTO RICO,

          as representative of
                                                                            No. 17 BK 3283-LTS
                                                                     1
 THE COMMONWEALTH OF PUERTO RICO, et al.,                                   (Jointly Administered)

                        Debtors.
 THE FINANCIAL OVERSIGHT AND
 MANAGEMENT BOARD OF PUERTO RICO,

       as representative of                                                 Adv. Proc. No. 18-00149-LTS

 THE COMMONWEALTH OF PUERTO RICO, et al.,

          and

 THE OFFICIAL COMMITTEE OF UNSECURED
 CREDITORS OF ALL TITLE III DEBTORS (OTHER
 THAN COFINA),

          Plaintiffs,

 v.

 PUERTO RICO PUBLIC BUILDINGS AUTHORITY,

          Defendant.




          1
            The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last
four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474);
(iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four
Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the Commonwealth of
Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID 9686); and (v) Puerto
Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID:
3747). (Title III case numbers listed as Bankruptcy Case numbers due to software limitations).
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                                    CERTIFICATE OF SERVICE

        WE HEREBY certify that on January 18, 2019 the undersigned’s office, on behalf of the

QTCB Noteholder Group,2 served a true and correct stamped copy of Notice of Appearance and

Request to Receive Notifications (Docket # 11) and Motion of the QTCB Noteholder Group to

Intervene and/or for Joinder Under Federal Rules of Bankruptcy Procedure 7024 & 7019 (Docket

# 12) on the following parties:


    A) The Chambers of the Honorable Laura Taylor Swain, by email and Federal Express at the
       following address: United States District Court for the Southern District of New York,
       Daniel Patrick Moynihan United States Courthouse, 500 Pearl St., Suite No. 3212, New
       York, New York 10007-1312;

    B) The Chambers of the Honorable Judith Dein, by email and Federal Express at the following
       address: John Joseph Moakley United States Courthouse, One Courthouse Way, Room
       6420, Boston, MA 02210-3002.

    C) Office of the United States Trustee for Region 21, by U.S. mail at the following address:
       Edificio Ochoa, 500 Tanca Street, Suite 301, San Juan, PR 00901-1922;

    D) All interested parties in the above-captioned case that have appeared through the Court’s
       CM/ECF system, via the aforesaid system, including, but not limited to, the Standard
       Parties as defined in the Fifth Amended Case Management Procedures (Docket # 3730-1;
       Case No. 17-03283), for whom service is allowed in this manner; and

    E) By U.S. Mail, to all parties listed in the Master Service List as of January 14th, 2019 (Docket
       # 4778, case Number 17-03283) for which an E-Mail address has not been provided. The
       rest of the parties in the aforesaid Master Service List were served by E-Mail.

        RESPECTFULLY SUBMITTED.

        WE HEREBY CERTIFY that on January 23, 2019, we electronically filed the instant

Certificate of Service with the Clerk of the Court using the CM/ECF system, which will

automatically send a notification of such filing to all counsel of record.


2
 The QTCB Noteholder Group shall have the same meaning as set forth in Notice of Appearance and Request for
Notice [ECF No. 134] and Supplemental Verified Statement of the QTCB Noteholder Group Pursuant to
Bankruptcy Rule 2019 [ECF No. 3765].
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      In San Juan, Puerto Rico, this 23day of January, 2018.

                                           CORREA ACEVEDO & ABESADA LAW
                                           OFFICES, P.S.C.
                                           Counsel for the QTCB Noteholder Group
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                                            /s/ Roberto Abesada- Agüet
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                                            /s/ Sergio E. Criado
                                          Sergio E. Criado
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